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        Grand Canyon University
                   as of June 30th, 2018




                    3300 W. Camelback Road
                     Phoenix, Arizona 85017



                             Prepared by:

                RP Valuation Group, LLC



                 4835 E. Cactus Road, Suite 320
                   Scottsdale, Arizona 85254



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                     RP Valuation Group, LLC
                                                                        Paradise Valley Corporate Center
                                                                          4835 E. Cactus Road, Suite 320
                                                                               Scottsdale, Arizona 85254
                                                                                                   Direct




July 13th, 2018

Mr. William Gonzalez
Chairman of the Board of Directors
Gazelle University, Inc.
3300 W. Camelback Road, Building 26
Phoenix, AZ 85017
Re:    Valuation of certain real property as of the June 30th, 2018 on the Grand Canyon University
       campus in Phoenix, AZ (Maricopa County) transferred to Gazelle University, Inc.
       RPV File No.: 18RPV023
Dear Mr. Gonzalez:
In fulfillment of the engagement scope as outlined in a Letter of Engagement dated November 29th,
2017, the RP Valuation Group, LLC (“RPV”) is pleased to transmit an Opinion of the Fair Market
Values (“FMV”) of certain Client-identified, real property that are the school assets presented
herein. The Appraisal Report (the “Report”) is in a summary format, and a detailed Regional and
Local Area Analysis, Description of Site/Improvements, valuation analysis, and other descriptive
items are not fully presented herein as per the summary report format.
The Report has been prepared for the nonprofit organization called Gazelle University, Inc. (“Client”
and “Gazelle”) on your behalf, the primary Intended User and Client. Gazelle management
(“Management”) purchased (the “Transaction”) certain assets of Grand Canyon Education, Inc.
(“GCE”) that relate to the operation of Grand Canyon University (the “School Assets”) with GCE
retaining the remaining administrative and service-related assets (the “Service Assets”).
The purpose of the engagement is to provide our opinion of the Fair Market Values (the “Opinion”),
a market based measurement of the GCE real property that represent a client-selected portion of
the School Assets on the requested June 30th, 2018 Date of Value (the “Valuation Date”). It is our
understanding that Management and their advisors will use the Report and Opinion presented
herein for tax and internal Management purposes with respect to the Transaction.
Distribution of the Report and reliance thereon is restricted to GCE and Gazelle management, their
advisors, and Gallagher & Kennedy, P.A. (Gazelle’s legal counsel). The Report and/or Opinion herein
may be presented, if requested, to the U.S. Department of Education, the Higher Learning
Commission of the North Central Association, and the Internal Revenue Service. The Report and
Opinion are subject to the attached Assumptions and Limiting Conditions and the Certification.



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The Report may not be attached to any public documents/filings. RPV cannot be specifically named
in any filings or other transaction documentation that may be published for any public use/view.
The Report may not be used, circulated, quoted, provided to the GCE shareholders or otherwise
referred to or relied upon in whole or in part for any other purpose or by any other party without
our express written consent.
This document is intended to comply with the requirements of the 2018-2019 Uniform Standards of
Professional Appraisal Practice (“USPAP”) for an Appraisal Report. As presented, it is a summary
discussion of the data, reasoning, and analyses that were used in the appraisal process to develop
the appraiser’s opinion of value. Some supporting documentation concerning the data, reasoning,
and analysis is retained in the appraisal report file. The depth of discussion and analysis contained in
this report is only for the Client’s stated Intended Use and only for the Intended User as defined
herein. The appraiser and RP Valuation Group, LLC are not responsible for unauthorized use of this
report. We recommend a complete reading of the report and Addenda herein to further your
understanding of our research, analysis and conclusions.
We have presented our Opinion of Fair Market Values “As Is” in fee simple interest. The FMV
interest appraised is defined as, “The price at which the property would change hands between a
willing buyer and a willing seller, neither being under any compulsion to buy or to sell and both
having reasonable knowledge of relevant facts” as per United States v. Cartwright, 411 U. S. 546, 93
S. Ct. 1713, 1716-17, 36 L. Ed. 2d 528, 73-1 U.S. Tax Case. An estimate of FMV may only be founded
either on precedent or extrapolation. FMV differs from the intrinsic value that an individual may
place on the same asset based on their own preferences and circumstances.
The Scope of Work used to develop the appraisal is based on research into a combination of primary
and secondary data sources. The specific data sources relied upon are described in this report. In
summary, during the course of this engagement, we:
•   Requested information from the Client and reviewed information made available to us;
•   Conducted a detailed physical inspection of the campus interior/exterior accompanied by
    various Grand Canyon University (“GCU”) staff on multiple occasions at which time we made
    field notes, interviewed GCU staff and took photographs;
•   Drove the subject’s local area to assess development trends, transportation patterns, quality
    and condition of improvements, access to services, adverse influences, etc.;
•   Gathered information on the status of key economic, social, governmental and environmental
    factors in the region and local area that influence the subject’s value from government and
    other public data websites, local business journals, newspapers, etc.;
   Collected relevant information and analyzed market conditions for the subject property type
    utilizing CoStar Comps, LoopNet, broker-centric web sites such as the ARMLS and Marshall
    Valuation Services to which we subscribe, and other digital and hard copy databases;
•   Researched the subject’s zoning designation and key development restrictions;

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•   Formed an opinion of the subject’s Highest and Best Use, and determined which approaches to
    value were applicable and/or necessary;
•   Utilized the Marshall Valuation Service and client-provided construction cost budgets to develop
    spreadsheets for the Cost Approach; and
•   Considered the input gathered from our interviews of buyers, sellers, brokers, property
    developers and public officials, as applicable.
The Cost Approach methodology is applied for the valuation of the multiple buildings and other real
property improvements identified as a portion of the School Assets. The client-identified campus
improvements are Special Purpose real property that are not commonly bought, sold or leased on
the open market, so the (Improved) Sales Comparison and Income Capitalization Approaches are
not applicable or reasonable valuation methodologies due to their on-campus siting. At Client
request, the valuation of individual improvements excludes the value of the land underlying each
improvement (including common areas); a noteworthy reason that only the Cost Approach is
applicable.
At Client request, note that tangible personal property, intangible property, and certain real
property are not included in our Opinion of real property value(s). Tangible and intangible property
and certain real property School Assets have been independently valued by others, per Client.
A detailed Ownership History of the transferred properties has been retained within the RP
Valuation Group, LLC digital files identified as Valuation_Asset Listing 43018 Final; a Client-provided
document identifying seller, buyer, purchase price, date of purchase, and property
identification/location. The Client has stated that no additional real property has been purchased
since the April 30th, 2018 date of the Asset Listing. Through June 30th, 2018, the real property has
been held under the ownership of Grand Canyon Education, Inc. with a large number of the School
Assets acquired within the past three years. As of July 1st, 2018, certain School Assets (including
those valued herein) were sold to Gazelle University, Inc. for approximately $875 million paid
through the issuance of a 7-year, senior secured Note.
The physical campus has existed since 1949 with hundreds of real property acquisitions since that
time. Acquisitions include both single and multi-family residential housing and numerous retail,
office, industrial, and other buildings (hotel, self-storage, etc.) inclusive of the underlying land. A
majority of the physical campus acquisition/expansion has occurred since 2008. Nearly all acquired,
improved properties have been demolished and many have been redeveloped for expansion of the
GCU campus.
The GCU campus perimeter is generally outlined by Interstate-17 on the east, W. Camelback Road
on the south, N. 35th Avenue on the west, and W. Missouri Avenue on the north. The campus
contains nearly 400 separate legal parcels, though there has been considerable merging and re-
platting of parcels within the perimeter. The campus parcels are not all contiguous i.e. there are
several islands of privately owned property within the perimeter. Approximately 18.9% of the

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acreage within the fore mentioned street perimeter is not yet owned, though targeted for future
acquisition. The campus and surrounding (potential acquisition) properties are zoned PUD, Planned
Urban Development, by the City of Phoenix. An aerial map is exhibited following the Executive
Summary with the Transaction property highlighted in purple (landscaped Page 9).




Grand Canyon University campus’ central, urban location marked with a blue star on the metropolitan map
According to The Dictionary of Real Estate Appraisal, Sixth Edition (2015), a publication of the
Appraisal Institute, the Highest and Best Use is defined as, “The reasonably probable and legal use
of vacant land or an improved property, which is physically possible, appropriately supported,
financially feasible, and that results in the highest value. The four criteria the highest and best use
must meet are legal permissibility, physical possibility, financial feasibility, and maximum
profitability.”
As if Vacant, legally, the PUD (Planned Urban Development) zoning provides great flexibility for
development of residential and commercial product, though the zoning mandates a harmonized,
long-term focus with coherent uses. The PUD zoning typically is utilized with a large acreage
development such as an office or industrial park, or a planned community where there is a long-
term development anticipated for the property. Physically, the property’s central metropolitan
Phoenix location in a mature area of the city, the excellent arterial road and highway frontage

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access/visibility, and level topography with full public utilities allows for virtually any residential or
commercial use, or a combination thereof based on the amount of acreage.
Based on a review of current residential (single-family and multi-family) market conditions, we
believe that such development would be immediately feasible, though the submarket demographics
dictate moderate to middle income oriented housing quality. Within the subject’s 85017 zip code,
ARMLS reports that there were 303 active listings as of June 30th, 2018 vs. 346 listings one year
earlier, and that 160 homes have sold during the past 12 months (7/01/17 to 6/30/2018) vs. the
prior 12 month period preceding July 1, 2017. However, the average sale price increased 16% from
$266,658 to $311,171 during the 12 month period while closing at 97% to 98% of the list price.
Citywide for the past 12 months as of June 30th, 2018, the number of listings is down 2%, the
number of single family homes sold is up 2%, and the average sale price is up 8%. The trends are
similar for condominiums, patio homes, and townhomes. The consensus of economists is that the
lack of housing listed For Sale is stifling the residential market i.e. demand has outpaced supply, and
it is driving prices rapidly upward.
Commercially, the frontage land along I-17, Camelback Road, and 35th Avenue would have to be
developed over multiple years as submarket demand for retail and office has been be sluggish,
especially in light of the significant amount of commercially viable subject frontage land.
According to CoStar Office within a two-mile radius of the subject (centered at I-17 and Camelback
Road), there are 323 existing buildings totaling 2,674,911 square feet with an average mature age of
50.3 years. The office vacancy rate within the 323 building group is 14.3% (including sublet space)
and the average rental rate is $16.13 per square foot, full service. Leasing volume has been negative
year-to-date. There are no office buildings under construction. The average office sale price during
the past 12 months has been $91 per square foot with an average capitalization rate of 8%.
According to CoStar Retail within a two-mile radius of the subject, there are 399 existing buildings
totaling 4,985,540 square feet with an average mature age of 45.2 years. The current retail vacancy
rate within the 399 building group is 9.8% (including sublet space) and the average rental rate is
$11.28 per square foot, triple net. Leasing volume has been modestly positive year-to-date. No
retail buildings are under construction, though one building of 63,192 square feet was delivered
during the past 12 months. The average retail sale price during the past 12 months has been $118
per square foot with an average capitalization rate of 7.1%.
According to CoStar Industrial within a two-mile radius of the subject, there are 336 existing
buildings totaling 6,329,188 square feet with an average mature age of 48.9 years. The majority of
the industrial base is located along Grand Avenue that is about two miles southwest of the subject.
The current industrial vacancy rate within the 336 building group is 5.9% (including sublet space)
and the average rental rate is $5.41 per square foot, industrial gross. Leasing volume has been
strongly positive year-to-date. There are no industrial buildings under construction and no space has
been delivered to the market during the past 12 months. The average industrial sale price during

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the past 12 months has been $56 per square foot with an average capitalization rate of 9.1%. A
majority of transactions have been owner-user activity.
We would not ordinarily project the nearly 244 acres of urban land as a university campus site for
an initial consideration for development ‘as if vacant’. However, it is clearly an appropriate Special
Purpose use ‘As Improved’. Per the definition of Highest and Best Use ‘As if Vacant’ on page 4, a
proposed use must be ‘reasonably probable’. A reasonably probable use of the property would be
for an office or industrial park development, or a planned community with a combination of housing
densities (single-family, apartments, condominiums, etc.) coupled with retail and office based on
the area’s locational amenity and/or demographics. Physically, given the property’s central
metropolitan location, the excellent arterial/highway frontage, the great access/visibility and public
utilities, would allow for a combination of the referenced uses due to the quantity of acreage.
As Improved, the special purpose and unique university campus utilization of the land is clearly a
maximally productive Special Purpose use of the land given the solid financial footing of Grand
Canyon University business operations thereon as a continued use coupled with its substantial
growth over the past several years. GCU enrollment is expected to reach nearly 21,000 students this
Fall 2018 with an additional 70,000 students online making it one of the largest universities in the
United States. GCU’s faculty, leadership and related staff of full-time employees totals about 4,000
people and there are another 6,000 part-time adjunct employees and student workers.
Our valuation Opinion expressed on the following pages is subject to the Assumptions and Limiting
Conditions including Extraordinary Assumptions and our Certification attached hereon as of the
Client-requested June 30th, 2018 date of value. As is common with Special Purpose properties
coupled with the large size of the Transaction, significant national/international exposure time
would be required that we estimate at approximately 24 to 48 months.
This letter is invalid as an Opinion of Fair Market Value if detached from the following Summary of
Gazelle University, Inc. Fair Market Value Conclusions (page 8), the map exhibits, the Assumptions
and Limiting Conditions, Certification, and the supporting, detailed Addenda to the report. We have
exhibited individual Cost Analysis spreadsheets for the buildings/site improvements segregated into
seven real property categories in the report Addenda.
Respectfully submitted,
RP Valuation Group, LLC




Dan A. Paulus, MAI, President
Arizona Certified General Appraiser License No. 30234



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The Grand Canyon University campus perimeter is outlined in red on the aerial map above. Only 18.9% of
                     the property within the perimeter is not yet campus land.




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        Summary of Gazelle University, Inc. Fair Market Value Conclusions ¹

                                           June 30th, 2018 ²
                                         FAIR MARKET VALUE
   REAL PROPERTY CATEGORY                   CONCLUSIONS                              NOTES
   Fields, Lawns & Stadiums                                          14 properties
   Office Buildings                                                   4 properties
   Multi-Purpose Buildings                                            8 properties
   Classroom Buildings                                               11 properties
   Parking Structures                                                 5 properties
   Other Buildings                                                    5 properties
   I-17 to 27th Ave. Properties                                       4 properties

                                                                     Sum-of-the-Retail Conclusion ³
   Notes:

   ¹ The fee simple interest is valued herein, and only those assets identified by Gazelle and/or GCE for
   valuation. Improvements have been valued using only the Cost Approach as they are Special Purpose
   properties.

   ²                              th
     The Date of FMV is June 30 , 2018 per Client request. Properties not yet owned (in escrow) and/or
   improvements not yet started as new construction (though they may be planned) as of the date of value
   are not included. Facilities under construction are valued based on a percentage of completion.

   ³ A Sum-of-the-Retail Conclusion does not necessarily represent the Fair Market Value at which the real
   estate portfolio might be hypothetically sold to a single purchasing entity. A discount might be demanded
   by a buyer due to its bulk size. Inversely, a premium may very well be required by the seller for its
   assemblage value.




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Aerial Map of GCE Properties that are part of the Proposed Transfer
 (Source: Maricopa Assessor’s Aerial Map with Appraiser Highlights)
                             Best Printed on 11’ x 17’




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                          Assumptions and Limiting Conditions

"Appraisal" means the appraisal report and opinion of value stated therein, to which these
Assumptions and Limiting Conditions are annexed.
"Property" means the subject of the Appraisal. "RPV" means RP Valuation Group, LLC or its
subsidiary which issued the Appraisal. "Appraiser" or “Appraisers” means the employee(s) of RP
Valuation Group, LLC or independent contractors who prepared and signed the Appraisal.

General Assumptions
This appraisal is made subject to the following assumptions and limiting conditions:

1. No opinion is intended to be expressed and no responsibility is assumed for the legal
   description or for any matters which are legal in nature or require legal expertise or
   specialized knowledge beyond that of a real estate appraiser. Title to the Property is
   assumed to be good and marketable and the Property is assumed to be free and clear of all
   liens unless otherwise stated. No survey of the Property was undertaken.
2. The information contained in the Appraisal or upon which the Appraisal is based has been
   gathered from sources the Appraiser assumes to be reliable and accurate. Some of such
   information may have been provided by the owner of the Property. Neither the Appraiser
   nor RPV shall be responsible for the accuracy or completeness of such information,
   including the correctness of opinions, dimensions, sketches, exhibits and factual matters.
3. The opinion of value is only as of the date stated in the Appraisal. Changes since that date in
   external and market factors or in the Property itself can significantly affect property value.
4. The Appraisal is to be used in whole and not in part. No part of the Appraisal shall be used
   in conjunction with any other appraisal. Publication of the Appraisal or any portion thereof
   without the prior written consent of RPV is prohibited. Except as may be otherwise stated in
   the letter of engagement, the Appraisal may not be used by any person other than the party
   to whom it is addressed or for purposes other than that for which it was prepared. No part
   of the Appraisal shall be conveyed to the public through advertising, or used in any sales or
   promotional material without RPV prior written consent. Reference to the Appraisal
   Institute or to the MAI designation is prohibited.
5. Except as may be otherwise stated in the letter of engagement, the Appraiser shall not be
   required to give testimony in any court or administrative proceeding relating to the
   Property or the Appraisal.
6. The Appraisal assumes (a) responsible ownership and competent management of the
   Property; (b) there are no hidden or unapparent conditions of the Property, subsoil or
   structures that render the Property more or less valuable (no responsibility is assumed for
   such conditions or for arranging for engineering studies that may be required to discover
   them); (c) full compliance with all applicable federal, state and local zoning and
   environmental regulations and laws, unless noncompliance is stated, defined and analyzed
   in the Appraisal; and (d) all required licenses, certificates of occupancy and other
   governmental consents have been or can be obtained and renewed for any use on which
   the value opinion contained in the Appraisal is based.

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7. The physical condition of the improvements analyzed within the Appraisal is based on visual
   inspection by the Appraiser or other person identified in the Appraisal. RPV assumes no
   responsibility for the soundness of structural members nor for the condition of mechanical
   equipment, plumbing or electrical components.
8. The projected potential gross income referred to in the Appraisal may be based on lease
   summaries provided by the owner or third parties. The Appraiser has also reviewed lease
   documents, but assumes no responsibility for the authenticity or completeness of lease
   information provided by others. RPV recommends that legal advice be obtained regarding
   the interpretation of lease provisions and the contractual rights of parties.
9. The projections of income and expenses are not predictions of the future. Rather, they are
   the Appraiser's opinion of current market thinking on future income and expenses. The
   Appraiser and RPV make no warranty or representation that these projections will
   materialize. The real estate market is constantly fluctuating and changing. It is not the
   Appraiser's task to predict or in any way warrant the conditions of a future real estate
   market; the Appraiser can only reflect what the investment community, as of the date of
   the Appraisal, envisages for the future in terms of rental rates, expenses, supply and
   demand.
10. Unless otherwise stated in the Appraisal, the existence of potentially hazardous or toxic
    materials which may have been used in the construction or maintenance of the
    improvements or may be located at or about the Property was not analyzed in arriving at
    the opinion of value. These materials (such as formaldehyde foam insulation, asbestos
    insulation and other potentially hazardous materials) may adversely affect the value of the
    Property. The Appraisers are not qualified to detect such substances. RPV recommends that
    an environmental expert be employed to determine the impact of these matters on the
    opinion of value.
11. The author of this report is not qualified to comment on environmental issues that may
    affect the market value of the property appraised, including but not limited to pollution or
    contamination of land, buildings, water, groundwater or air. Unless expressly stated, the
    property is assumed to be free and clear of pollutants and contaminants, including but not
    limited to molds or mildews or the conditions that might give rise to either, and in
    compliance with all environmental condition, past, present, or future, that might affect the
    market value of the property appraised. If the party relying on this report requires
    information about environmental issues then that party is cautioned to retain an expert
    qualified in such issues. We expressly deny any legal liability relating to the effect of
    environmental issues on the market value of the property being appraised.
12. Unless otherwise stated in the Appraisal, compliance with the requirements of the
    Americans with Disabilities Act of 1990 (ADA) has not been analyzed in arriving at the
    opinion of value. Failure to comply with the requirements of the ADA may adversely affect
    the value of the property. RPV recommends that an expert in this field be employed.
13. Additional work requested by the client beyond the scope of this assignment will be billed
    at our prevailing hourly rate. Preparation for court testimony, update valuations, additional
    research, depositions, travel or other proceedings will be billed at our prevailing hourly rate,
    plus reimbursement of expenses.

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14. The reader acknowledges that RPV has been retained hereunder as an independent
    contractor to perform the services described herein and nothing in this agreement shall be
    deemed to create any other relationship between us. This assignment shall be deemed
    concluded and the services hereunder completed upon delivery to you of the appraisal
    report discussed herein.
15. This study has not been prepared for use in connection with litigation and this document is
    not suitable for use in a litigation action. Accordingly, no rights to expert testimony, pretrial
    or other conferences, deposition, or related services are included with this appraisal. If, as a
    result of this undertaking, RPV or any of its principals, its appraisers or consultants are
    requested or required to provide any litigation services, such shall be subject to the
    provisions of the RPV engagement letter or, if not specified therein, subject to the
    reasonable availability of RPV and/or said principals or appraisers at the time and shall
    further be subject to the party or parties requesting or requiring such services paying the
    then-applicable professional fees and expenses of RPV either in accordance with the
    provisions of the engagement letter or arrangements at the time, as the case may be.
Extraordinary Assumptions
An extraordinary assumption is defined as “an assumption, directly related to a specific
engagement, as of the effective date of the engagement results, which, if found to be false,
could alter the appraiser’s opinions or conclusions”. Extraordinary assumptions presume as fact
otherwise uncertain information about physical, legal or economic characteristics of the subject
property or about conditions external to the property, such as market conditions or trends, or
the integrity of data used in an analysis. (USPAP 2018-2019 Edition, ASB of The Appraisal
Foundation). (A) Real property was physically inspected December 6th, 2017 through
December 20th, 2017; several months preceding the date of value, though certain
improvements were further inspected June 14th, 2018 and on July 10th, 2018. We assume as
an Extraordinary Assumption that real property as of the Date of Value was generally in the
same physical condition as on the dates of inspection excepting those under construction. If
this assumption is later found to be inaccurate, RP Valuation Group, LLC reserves the right to
alter its Opinion. (B) The Client and GCE have provided considerable data to RPV regarding
the Client-identified real property that has been relied upon by RPV such as building square
footage, dates of construction and budgets, percentage of completion, number of
rooms/units/parking spaces, etc. If the Client and GCE provided data is later found to be
incorrect, RPV reserves the right to adjust its Opinion of Fair Market Values.
Note that the use of the Extraordinary Assumptions might have affected the engagement
results.
Hypothetical Conditions
A hypothetical condition is defined as “a condition related to a specific engagement which is
contrary to what is known by the appraiser to exist on the effective date of the engagement
results, but is used for the purpose of analysis”. Hypothetical conditions are contrary to known
facts about physical, legal, or economic characteristics of the subject property or about
conditions external to the property, such as market conditions or trends, or the integrity of data
used in an analysis.” (USPAP 2018-2019 Edition, ASB of The Appraisal Foundation). This
appraisal assumes no hypothetical conditions.

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                                  Certification of Appraisal

We certify that, to the best of our knowledge and belief:

1. The statements of fact contained in this report are true and correct.
2. The reported analyses, opinions, and conclusions are limited only by the reported
   assumptions and limiting conditions, and are our personal, impartial, and unbiased
   professional analyses, opinions, and conclusions.
3. We have no present or prospective interest in the property that is the subject of this report,
   and no personal interest with respect to the parties involved.
4. We have no bias with respect to the property that is the subject of this report or to the
   parties involved with this assignment.
5. Our engagement in this assignment was not contingent upon developing or reporting
   predetermined results.
6. Our compensation for completing this assignment is not contingent upon the development
   or reporting of a predetermined value or direction in value that favors the cause of the
   client, the amount of the value opinion, the attainment of a stipulated result, or the
   occurrence of a subsequent event directly related to the intended use of this appraisal.
7. Our analyses, opinions, and conclusions were developed, and this report has been
   prepared, in conformity with the Code of Professional Ethics and Standards of Professional
   Appraised Practice of the Appraisal Institute, which include the Uniform Standards of
   Professional Appraisal Practice.
8. Dan A. Paulus made a personal inspection of the properties that are the subject of this report.
9. No one provided significant real property appraisal assistance to the person signing this
   report.
10. The undersigned has previously researched and analyzed (provided Appraisal Services)
    certain school assets, but not completed an appraisal on the subject within the past three
    years.
11. The use of this report is subject to the requirements of the Appraisal Institute relating to
    review by its duly authorized representatives.
12. As of the date of this report, Dan A. Paulus, MAI has completed the continuing education
    program of the Appraisal Institute.




Dan A. Paulus, MAI, President
Arizona Certified General Appraiser License No. 30234


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                         Addenda Contents

ADDENDUM A:             Fields, Lawns & Stadiums
ADDENDUM B:             Office Buildings
ADDENDUM C:             Multi-Purpose Buildings
ADDENDUM D:             Classroom Buildings
ADDENDUM E:             Parking Structures
ADDENDUM F:             Other Buildings
ADDENDUM G:             I-17 to 27th Avenue Properties
ADDENDUM H:             Professional Qualifications of Dan A. Paulus, MAI




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                                    ADDENDUM A:
                            Fields, Lawns & Stadiums
                       (excluding fair market value of underlying land)



                                                                6/30/2018
                                                                   FMV
                 Bldg. No. & Bldg. Name                        Conclusions

                 A - Brazell Baseball Field/Stadium
                 B - Track & Field
                 C - Softball Stadium/Field
                 D - Soccer Stadium
                 E - Prescott Field
                 F - Quad Lawn
                 G & J - Beach Volleyball Stadium & Courts
                 H -Grove Fields
                 I - Colter Field
                 K - Tennis Courts + two BB courts
                 L - Basketball Courts
                 N - Baseball Practice Field
                     Main Campus Site Improvements
                     Off Campus Site Improvements

                                 Sum-of-the-Retail Total




                                 AR-C-0652
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         COST APPROACH SUMMARY: A - BRAZELL BASEBALL FIELD (Ph. 1 expansion complete)
                                                                           Gross                                        Total
Replacement Cost New (RCN)                                                 SqFt         $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                    123,365
     Irrigation system                                                   123,365
     Bleachers-permanent w/elevator, press box & concession stand        32,280
     Perimeter fencing - linear feet                                      1,511
     Electronic scoreboard                                                  1
     Stadium baseball netting                                               1
     Stadium pole lighting (x 8) @ 50', mercury vapor                       8
     Batting cage; steel post w/corrugated steel canopy, netting           700
     Steel canopy-20' steel poles, corrugated steel roof, concr. base     3,000
        Subtotal
  Multipliers
    Current Cost                                                                            1.05
    Local Area                                                                             0.946
    Product of Multipliers                                                                               x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                           11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                  10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                                  0 Years
    Total Economic Life (Years):                                           25 Years
    Total Physical Depreciation:                                               0.0%
    Remaining Useful Life:                                                              25.0 Years
  Functional Obsolescence                                                        0.0%
  External Obsolescence                                                          0.0%
Total                                                                            0.0%
Depreciated Value of the Site Improvements
Percentage complete on 6/30/2018 per GCE Scott Doering                                                                       92.00%

Depreciated Value of the Site Improvements excluding underlying Land
  Rounded to nearest $10,000                                                 2
Source: Marshall Valuation Service - December 2017                      Section: 66       Quality: Average
                                                                        Page: 5           Class: N/Ap - used Combined
                                                                        Date: 12/17       Type:    Recreational Facilities




                                                      AR-C-0653
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                                 COST APPROACH SUMMARY: B - TRACK & FIELD
                                                                       Gross                                        Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt            Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                 77,000
     Irrigation system                                                77,000
     Portable bleachers-aluminum                                       1,300
     4" rock base & 4" asphalt base for tartan track                  55,440
     Tartan track (8 oval lanes)                                      55,440
     Stadium lighting (6 light sets on 6 steel poles 50')                         $
     Electronic scoreboard                                               1
     4' chain link fence perimeter                                     1,136
        Subtotal
  Multipliers
    Current Cost                                                                       1.050
    Local Area                                                                         0.946
    Product of Multipliers                                                                           x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            6.5 Years
    Total Economic Life (Years):                                      25 Years
    Total Physical Depreciation:                                         26.0%
    Remaining Useful Life:                                                        18.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                    26.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $5,000                                         2

Source: Marshall Valuation Service - December 2017                  Section: 66       Quality: Good
                                                                    Page: 6           Class: N/Ap - used Combined
                                                                    Date: 12/17       Type:    Recreational Facilities




                                                        AR-C-0654
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                 COST APPROACH SUMMARY: C - SOFTBALL FIELD (under major expansion)
                                                                      Gross                                         Total
Replacement Cost New (RCN)                                            SqFt          $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                 45,816
     Irrigation system                                                45,816
     Bleachers-permanent w/concession stand, bathrooms, pressbox      30,000
     Stadium pole lighting (x 4) @ 50', mercury vapor
     Perimeter fencing, netting                                       1,500
     Tuff shed storage buildings                                       480
     Two batting cages                                                 720
     Scoreboard - electronic                                            1
        Subtotal
  Multipliers
    Current Cost                                                                       1.030
    Local Area                                                                         0.946
    Product of Multipliers                                                                           x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%                                      9
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                             0 Years
    Total Economic Life (Years):                                      25 Years
    Total Physical Depreciation:                                          0.0%
    Remaining Useful Life:                                                          25.0 Years
  Functional Obsolescence                                                    0.0%
  External Obsolescence                                                      0.0%
Total                                                                        0.0%
Depreciated Value of the Site Improvements
Percentage complete on 6/30/2018 per GCE Scott Doering                                                               100.00%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $5,000                                              2
Source: Marshall Valuation Service - December 2017                 Section: 66        Quality: Good
                                                                   Page: 5            Class: N/Ap - used Combined
                                                                   Date: 12/17        Type:    Recreational Facilities




                                                     AR-C-0655
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                        COST APPROACH SUMMARY: D - SOCCER STADIUM & FIELD
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                             121,840
     Irrigation system                                            121,840
     Bleachers-permanent w/press box & concession stand           28,900
     Stadium lighting (6 light sets on 6 steel poles 50')            4
     Electronic scoreboard                                           1
     4' chain link fence perimeter                                 1,136
        Subtotal
  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.946
    Product of Multipliers                                                                      x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%                            9
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         2.5 Years
    Total Economic Life (Years):                                   25 Years
    Total Physical Depreciation:                                      10.0%
    Remaining Useful Life:                                                     22.5 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                 10.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        2
Source: Marshall Valuation Service - December 2017               Section: 66     Quality: Good
                                                                 Page: 6         Class: N/Ap - used Combined
                                                                 Date: 12/17     Type:    Recreational Facilities




                                                     AR-C-0656
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                              COST APPROACH SUMMARY: E - PRESCOTT FIELD
                                                                     Gross                                      Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                              108,335
     Artificial turf                                               108,335
     Perimeter concrete curbing (per linear foot) & planters        1,420
     Football posts (pair)                                            1
     Stadium lighting on 6 x 30' poles, mercury vapor                 1
        Subtotal

  Multipliers
    Current Cost                                                                   1.050
    Local Area                                                                     0.946
    Product of Multipliers                                                                       x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          5.5 Years
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                       22.0%
    Remaining Useful Life:                                                      19.5 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                  22.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017                Section: 66     Quality: Good
                                                                  Page: 5         Class: N/Ap - used Combined
                                                                  Date: 12/17     Type:    Recreational Facilities




                                                      AR-C-0657
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                                 COST APPROACH SUMMARY: F - QUAD LAWN
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Site & Structure Improvements
     Site preparation and landscaping                              57,832
     Irrigation system                                             57,832
     Concrete edging & planters (per linear ft.)                    968
     Stadium lighting-perimeter (x 8); 30' poles/mercury vapor        8
        Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.946
    Product of Multipliers                                                                     x 0.993
  Adjusted Base Cost - Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        17.5 Years
    Total Economic Life (Years):                                   25 Years
    Total Physical Depreciation:                                      70.0%
    Remaining Useful Life:                                                     7.5 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                 70.0%
Depreciated Value of theSite Improvements excluding the underlying Land
  Rounded to nearest $10,000                                       3
Source: Marshall Valuation Service - December 2017               Section: 66    Quality: Good
                                                                 Page: 5        Class: N/Ap - used Combined
                                                                 Date: 12/17    Type:    Recreational Facility




                                                     AR-C-0658
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COST APPROACH SUMMARY: G - VOLLEYBALL STADIUM/COURTS and J - BEACH VOLLEYBALL COURTS
                                                                  Gross                                      Total
Replacement Cost New (RCN)                                        SqFt         $/SqFt         Total          Cost
  Site & Structure Improvements
     Site preparation - 4 Beach Volleyball Courts                 19,000
     Site preparation - Volleyball Stadium & 7 Courts             43,700
     Site preparation - Canyon Field S. of Stadium/Courts         16,900
     Bleachers w/seating for 1,300 spectators                     1,300
     Artifical turf on field S. of courts/stadium                 16,900
     Eleven (11) volleyball courts                                  11
     Stadium lighting (x 6); 25' poles, mercury vapor               6
        Subtotal
  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.946
    Product of Multipliers                                                                      x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        1.5 Years
    Total Economic Life (Years):                                  25 Years
    Total Physical Depreciation:                                       6.0%
    Remaining Useful Life:                                                     23.5 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   6.0%
Depreciated Value of the Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017            Section: 66        Quality: Good
                                                              Page: 5            Class: N/Ap - used Combined
                                                              Date: 12/17        Type:    Recreational Facility




                                                      AR-C-0659
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                 COST APPROACH SUMMARY: H - GROVE FIELDS (two intramural fields)
                                                                      Gross                                      Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                               149,580
     Artificial turf                                                149,580
     Perimeter concr. Curb (per LF) & 4' chain link fencing          1,849
     N/S sidewalk/planters bisecting field                           4,362
     Stadium lighting on 10 x 30' poles, mercury vapor                10
        Subtotal
  Multipliers
    Current Cost                                                                    1.050
    Local Area                                                                      0.946
    Product of Multipliers                                                                        x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           2.5 Years
    Total Economic Life (Years):                                     25 Years
    Total Physical Depreciation:                                        10.0%
    Remaining Useful Life:                                                       22.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   10.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017                 Section: 66     Quality: Good
                                                                   Page: 5         Class: N/Ap - used Combined
                                                                   Date: 12/17     Type:    Recreational Facilities




                                                       AR-C-0660
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               COST APPROACH SUMMARY: I - COLTER FIELDS (three intramural fields)
                                                                       Gross                                      Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                189,240
     Artificial turf                                                 189,240
     Perimeter 6' fencing                                             1,742
     Stadium lighting on 8 x 30' poles, mercury vapor                   8
        Subtotal
  Multipliers
    Current Cost                                                                     1.050
    Local Area                                                                       0.946
    Product of Multipliers                                                                         x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            1.5 Years
    Total Economic Life (Years):                                      25 Years
    Total Physical Depreciation:                                           6.0%
    Remaining Useful Life:                                                        23.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                     6.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017                  Section: 66     Quality: Good
                                                                    Page: 5         Class: N/Ap - used Combined
                                                                    Date: 12/17     Type:    Recreational Facilities




                                                        AR-C-0661
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                          COST APPROACH SUMMARY: K - TENNIS COURTS (outdoor)
                                                                       Gross                                        Total
Replacement Cost New (RCN)                                             SqFt         $/SqFt          Total           Cost
  Site & Structure Improvements
     Six tennis courts w/covered concourse & storage                     6
     with Plexiwave IW surfacing                                      47,600
     Two basketball courts                                               2
     Perimeter fencing (included above)                                1,098
     Stadium lighting on 6 x 30' poles, mercury vapor                    6
       Subtotal

  Multipliers
    Current Cost                                                                       1.050
    Local Area                                                                         0.946
    Product of Multipliers                                                                           x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            1.5 Years
    Total Economic Life (Years):                                      20 Years
    Total Physical Depreciation:                                           7.5%
    Remaining Useful Life:                                                          18.5 Years
  Functional Obsolescence                                                    0.0%
  External Obsolescence                                                      0.0%
Total                                                                        7.5%

Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                             3

Source: Marshall Valuation Service - December 2017                  Section: 66       Quality: Good
                                                                    Page: 5           Class: N/Ap - used Combined
                                                                    Date: 12/17       Type:    Recreational Facilities




                                                        AR-C-0662
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          COST APPROACH SUMMARY: L - BASKETBALL COURTS (two intramural outdoor)
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Two outdoor basketball courts including posts/hoops             2
     Perimeter fencing in LF                                        470
     Stadium lighting on 2 x 30' poles, mercury vapor                2
       Subtotal
  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.946
    Product of Multipliers                                                                      x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         2.5 Years
    Total Economic Life (Years):                                   25 Years
    Total Physical Depreciation:                                      10.0%
    Remaining Useful Life:                                                     22.5 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                 10.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017               Section: 66     Quality: Good
                                                                 Page: 5         Class: N/Ap - used Combined
                                                                 Date: 12/17     Type:    Recreational Facilities




                                                     AR-C-0663
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                        COST APPROACH SUMMARY: N - BASEBALL PRACTICE FIELD
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt          Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                              45,500
     Irrigation system                                             45,500
     8' chain link fence perimeter/netting                          810
        Subtotal
  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.946
    Product of Multipliers                                                                      x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         6.5 Years
    Total Economic Life (Years):                                   25 Years
    Total Physical Depreciation:                                      26.0%
    Remaining Useful Life:                                                     18.5 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                 26.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        2
Source: Marshall Valuation Service - December 2017               Section: 66     Quality: Good
                                                                 Page: 6         Class: N/Ap - used Combined
                                                                 Date: 12/17     Type:    Recreational Facilities




                                                     AR-C-0664
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                       COST APPROACH SUMMARY: Main Campus Site Improvements
                                                                         Gross                                      Total
Replacement Cost New (RCN)                                                SqFt      $/SqFt          Total           Cost
  Site & Structure Improvements
     Site prep. (less bldg footprint, Lawns, Fields, Courts)            3,188,075
     Landscaping (70% of sq. ft. excl. bldg footprint, Lawns, etc.)     2,231,653
     Irrigation, bubbler system (70% of sq. ft. less bldg. footprint) 2,231,653
     Interior streets, prkg lots, walks (15% of sq. ft. less footprint)   478,211
     Perimeter fencing & gates-main campus (linear ft.)                    11,454
     Sidewalks (concrete & pavers), campus lighting (10% of sq. ft.) 318,808
        Subtotal

  Multipliers
    Current Cost                                                                       1.050
    Local Area                                                                         0.946
    Product of Multipliers                                                                           x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                         11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                               10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                             3.5 Years
    Total Economic Life (Years):                                       25 Years
    Total Physical Depreciation:                                          14.0%
    Remaining Useful Life:                                                          21.5 Years
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                     14.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - December 2017                  Section: 66       Quality: Good
                                                                    Page: 6           Class: N/Ap - used Combined
                                                                    Date: 12/17       Type:    Recretaional Facilities




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                            COST APPROACH SUMMARY: Off Campus Site Improvements
                                                                               Gross Land                                    Total
Replacement Cost New (RCN)                                                       Sq. Ft.     $/SqFt          Total           Cost

  Site Improvements (excavation, gravel, paving, fencing, etc.), Assumes 50% of land is raw/non-utilized:

    Site prep. (less bldg footprint, Lawns, Fields, Courts)                     1,296,264
    Landscaping and/or gravel Surface Parking Lots (50% of sq. ft. excl.
    bldg footprint, lawns, etc.)                                                1,296,264
    Irrigation, bubbler system (10% of sq. ft. less bldg. footprint)              259,253
    Interior streets, prkg lots, walks (15% of sq. ft. less bldg. footprint)      388,879
    Perimeter fencing & gates-main campus (linear ft.)                             11,720
    Sidewalks (concrete & pavers), campus lighting (10% of sq. ft.)               259,253
       Subtotal
  Multipliers
    Current Cost                                                                                1.050
    Local Area                                                                                  0.946
    Perimeter                                                                                   1.000
    Building Height                                                                             1.000
    Product of Multipliers                                                                                    x 0.993
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                                   11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                         10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                                       2.5 Years
    Total Economic Life (Years):                                                 25 Years
    Total Physical Depreciation:                                                    10.0%
    Remaining Useful Life:                                                                   22.5 Years
  Functional Obsolescence                                                            0.0%
  External Obsolescence                                                              0.0%
Total                                                                               10.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                                        3
Source: Marshall Valuation Service - December 2017                             Section: 66     Quality: Good
                                                                               Page: 6         Class: N/Ap - used Combined
                                                                               Date: 12/17     Type:    Recretaional Facilities




                                                            AR-C-0666
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                                   ADDENDUM B:
                                   Office Buildings
                       (excluding fair market value of underlying land)



                                                            6/30/2018
                                                               FMV
                      Bldg. No. & Bldg. Name               Conclusions
                      23 - Academic Affairs
                      25 - Kaibab Enrollment Center
                      26 - Student Life Building
                      66 - Innovation Center

                               Sum-of-the-Retail Total




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                       COST APPROACH SUMMARY: 23 - ACADEMIC AFFAIRS OFFICE
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    Administrative Office Building Base Cost                        13,400
    Sprinklers-Wet (not in Base)                                    13,400
    HVAC in Base is Moderate Climate. Upgrade to Extreme.           13,400
    Elevator (1)
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%                                  1
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         25.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       56.7%
    Remaining Useful Life:                                                      19.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   56.7%
Depreciated Value of the Site Improvements excluding underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 32        Class: C
                                                                  Date: 2/17      Type:    Administrative Office




                                                      AR-C-0668
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                     COST APPROACH SUMMARY: 25 - KAIBAB ENROLLMENT CENTER
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Administrative Office Base Cost incl. Package AC                24,640
    Sprinklers-Wet (not in Base)                                    24,640
    HVAC in Base is Moderate Climate. Upgrade to Extreme.           24,640
    Elevator (1)                                                       1
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         35.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       78.9%
    Remaining Useful Life:                                                      9.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   78.9%
Depreciated Value of the Site Improvements excluding underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18    Quality: Average
                                                                  Page: 32       Class: C
                                                                  Date: 2/17     Type:    Administrative Office




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                         COST APPROACH SUMMARY: 26 - STUDENT LIFE BUILDING
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    Administrative Office Building Base Cost                        65,962
    Add for 4th floor                                                                1.05               1.05
      Subtotal
    Sprinklers-Wet (not in Base)                                    65,962
    Add for Moderate up to Extreme HVAC                             65,962
    Elevator (1)                                                       2
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          1.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                         3.3%
    Remaining Useful Life:                                                      43.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    3.3%
Depreciated Value of the Site Improvements excluding underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 32        Class: C
                                                                  Date: 2/17      Type:    Administrative Office




                                                      AR-C-0670
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                             COST APPROACH SUMMARY: 66 - INNOVATION CENTER
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt          Total          Cost
  Building Improvements
    Engineering (industrial) Building Base Cost                    128,316
    Add for Moderate up to Extreme HVAC                            128,316
    Sprinklers-Wet (not in Base)                                   128,316
      Subtotal
  Multipliers
    Current Cost                                                                  1.040
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.978
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        20.0 Years
    Total Economic Life (Years):                                   50 Years
    Total Physical Depreciation:                                      40.0%
    Remaining Useful Life:                                                     30.0 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                  40.0%
Depreciated Value of the Site Improvements excluding underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018               Section: 18     Quality: Average
                                                                 Page: 32        Class: C
                                                                 Date: 2/18      Type:    Administrative Office




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                                     ADDENDUM C:
                              Multi-Purpose Building
                       (excluding fair market value of underlying land)



                                                               6/30/2018
                                                                  FMV
                 Bldg. No. & Bldg. Name                       Conclusions
                  2 - Colangelo Museum/BB Practice
                      Courts/Coaches Offices
                 11 - Thunder Alley
                 12 - Lopes Performance Cntr
                 21 - Ethington Theater
                 22S - Antelope Gymnasium
                 22N - North Lecture Hall
                 29 - Student Union
                 58 - Club Sports Facility (under constr.)

                                  Sum-of-the-Retail Total




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     COST APPROACH SUMMARY: 2 - COLANGELO MUSEUM & BB PRACTICE STADIUM/OFFICES
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Gymnasium Base Cost                                             24,000
    Sprinklers-Wet (not in Base)                                    24,000
    Elevator (1)                                                       1
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                     x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            1 Years
    Total Economic Life (Years):                                     45 Years
    Total Physical Depreciation:                                         2.2%
    Remaining Useful Life:                                                      44.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    2.2%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Excellent
                                                                  Page: 25        Class: C
                                                                  Date: 2/17      Type:    Gymnasiums




                                                      AR-C-0673
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       COST APPROACH SUMMARY: 11 - THUNDER ALLEY FOOD COURT AND BOWLING ALLEY
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    Fabric Roof Structure Base Cost                                 14,000
    Excavation and Site Preparation                                 14,000
    Foundation; Good Class C, bearing wall                          24,298
    Frame; concrete reinforced Class B                              14,000
    Floor Structure-concrete elevated flat slab and joists          14,000
    Plumbing                                                        24,298
    HVAC                                                            24,298
    Electrical and Lighting                                         24,298
    Interior Partitioning                                           24,298
    Carpet/resilient flooring/ceramic tile                          24,298
    Elevator (1)                                                       1
    Bowling Alley - 6 lanes                                            6
    Sprinklers-Wet (not in Base)                                    24,298
      Subtotal

  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          6.5 Years
    Total Economic Life (Years):                                    30 Years
    Total Physical Depreciation:                                       21.7%
    Remaining Useful Life:                                                      23.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   21.7%

Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3

Source: Marshall Valuation Service - March & September 2017       Section: 57     Quality: Average
                                                                  Page: 6         Class: N/A
                                                                  Date: 9/17      Type:    Fabric Roof Structures




                                                      AR-C-0674
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                    COST APPROACH SUMMARY: 12 - LOPES PERFORMANCE CENTER
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total           Cost
  Building Improvements
    Gymnasium Base Cost includes HVAC                               57,521
    Sprinklers-Wet (not in Base)                                    57,521
    Elevator (1)                                                       1
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.147
    Product of Multipliers                                                                      x 1.154
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          6.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       14.4%
    Remaining Useful Life:                                                      38.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   14.4%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Good
                                                                  Page: 25        Class: C
                                                                  Date: 2/17      Type:    Gymnasiums (358)




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                             COST APPROACH SUMMARY: 21 - ETHINGTON THEATER
                                                                     Gross                                        Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total             Cost
  Building Improvements
    Live Stage Theaters Base Cost                                    7,600
    Sprinklers-Wet (not in Base)                                     3,800
    Seating (311 capacity)                                            311
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.       7,600
    Curtains                                                         2,000
       Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.147
    Product of Multipliers                                                                       x 1.154
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         25.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       56.7%
    Remaining Useful Life:                                                      19.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   56.7%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - August 2017                  Section: 16     Quality: Average
                                                                  Page: 12        Class: C
                                                                  Date: 8/17      Type:    Theaters: Live Stage




                                                      AR-C-0676
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                       COST APPROACH SUMMARY: 22 S - ANTELOPE GYMNASIUM
                                                                    Gross                               Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total      Cost
  Building Improvements
    Gymnasium Base Cost incl Package AC                            18,295
    Add: Load bearing sport court roof                             18,295
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.     18,295
    Sprinklers - Wet (not in base)                                 18,295
    Bleachers (2000 seat capacity)
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.147
    Product of Multipliers                                                                    x 1.154
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        23.5 Years
    Total Economic Life (Years):                                   40 Years
    Total Physical Depreciation:                                      58.8%
    Remaining Useful Life:                                                     16.5 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                  58.8%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - February 2017               Section: 18     Quality: Average
                                                                 Page: 25        Class: C
                                                                 Date: 2/17      Type:    Gymnasiums




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                         COST APPROACH SUMMARY: 22 N - NORTH LECTURE HALL
                                                                     Gross                                 Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total      Cost
  Building Improvements
    Lecture Hall Building Base Cost includes Package AC             18,295
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.      18,295
    Sprinklers-Wet (not in Base)                                    18,295
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         23.5 Years
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                       58.8%
    Remaining Useful Life:                                                      16.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   58.8%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 28        Class: C
                                                                  Date: 2/17      Type:    Lecture Halls




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                             COST APPROACH SUMMARY: 29 - STUDENT UNION
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt         $/SqFt         Total          Cost
  Building Improvements
    Original building Base Cost                                    22,003
    North Side Addition Building Base Cost (library & rest.)       15,308
    Sprinklers-Wet (not in Base) original building                 37,311
      Add: .5% for 4th Floor of Addition
    Elevators (2)                                                     2
      Subtotal
  Multipliers
    Current Cost                                                                    1.070
    Local Area                                                                      0.940
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         3.5 Years
    Total Economic Life (Years):                                   50 Years
    Total Physical Depreciation:                                        7.0%
    Remaining Useful Life:                                                       46.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                     7.0%
Depreciated Value of the Site Improvements excluding underlying Land
                                   Rounded to nearest $25,000       4
Source: Marshall Valuation Service - November 2014               Section: 18       Quality: Average and Good
                                                                 Page: 31          Class: C
                                                                 Date: 11/14       Type:    Commons




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                COST APPROACH SUMMARY: 58 - CLUB SPORTS FACILITY (under constr.)
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Building Improvements
    Gymnasium Base Cost includes HVAC                              123,000
    Sprinklers-Wet (not in Base)                                   123,000
    Elevator (1)                                                      1
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                    x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         0.0 Years @ 6/30/2018
    Total Economic Life (Years):                                   45 Years
    Total Physical Depreciation:                                        0.0%
    Remaining Useful Life:                                                     45.0 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   0.0%
Depreciated Value of the Site Improvements
Percentage of Completion of construction on 6/30/2018                                                          43.0%
Depreciated Value of the Site Improvements excluding underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Good
                                                                 Page: 25       Class:   C
                                                                 Date: 2/17     Type:    Gymnasiums (358)




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                                    ADDENDUM D:
                                Classroom Buildings
                       (excluding fair market value of underlying land)



                                                                    6/30/2018
                                                                       FMV
              Bldg. No. & Bldg. Name                               Conclusions
               1 - Engineering / Honors College
               6 - Natural Sciences
              16 - Humanities & Social Science
              18 - Media Arts Complex
              19 - Nursing & Healthcare Professions
              24 - Fleming - College of Doctoral Studies
              33 - College of Education
              35 - College of Business
              42 - Colangelo College of Business (under constr.)
              43 - Colter - Fine Arts & Production
              57 - Technology Center (College of Education/
                        Exercise Science/Recording Studio)

                                        Sum-of-the-Retail Total




                                        0681
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                   COST APPROACH SUMMARY: 1 - ENGINEERING / HONORS COLLEGE
                                                                   Gross                                     Total
Replacement Cost New (RCN)                                         SqFt       $/SqFt          Total          Cost
  Building Improvements
    College Classrooms Base Cost                                  173,447
    Add .5% for 4th Floor                                                         1.005
      Subtotal                                                    173,447
    HVAC included is Moderate. Upgrade to Extreme Climate         173,447
    Sprinklers-Wet (not in Base)                                  173,447
    Elevators (3)                                                    3
      Subtotal
  Multipliers
    Current Cost                                                                 1.070
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                      x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        1.5 Years
    Total Economic Life (Years):                                  45 Years
    Total Physical Depreciation:                                       3.3%
    Remaining Useful Life:                                                    43.5 Years
  Functional Obsolescence                                             0.0%
  External Obsolescence                                               0.0%
Total                                                                 3.3%
Depreciated Value of the Site Improvements excluding the underlying Land
                                   Rounded to nearest $10,000       3
Source: Marshall Valuation Service - February 2017            Section: 18       Quality: Average
                                                              Page: 27          Class: C
                                                              Date: 2/17        Type:    College (377) & Classrooms (368)




                                                      AR-C-0682
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           COST APPROACH SUMMARY: 6 - NATURAL SCIENCES (Nursing, Science, Theology)
                                                                  Gross                                      Total
Replacement Cost New (RCN)                                        SqFt        $/SqFt          Total          Cost
  Building Improvements
    College Classrooms Base Cost                                  87,314
    Add .5% for 4th Floor                                                         1.005
    Subtotal                                                      87,314
    HVAC included is Moderate. Upgrade to Extreme Climate         87,314
    Sprinklers-Wet (not in Base)                                  87,314
    Elevators (2)                                                    2
      Subtotal
  Multipliers
    Current Cost                                                                 1.070
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                      x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        3.5 Years
    Total Economic Life (Years):                                  45 Years
    Total Physical Depreciation:                                       7.8%
    Remaining Useful Life:                                                    41.5 Years
  Functional Obsolescence                                             0.0%
  External Obsolescence                                               0.0%
Total                                                                 7.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017            Section: 18       Quality: Average
                                                              Pg 26 & 27        Class: C
                                                              Date: 2/17        Type:    College (377) & Classrooms (368)




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            COST APPROACH SUMMARY: 16 - COLLEGE OF HUMANITIES & SOCIAL SCIENCES
                                                                  Gross                                      Total
Replacement Cost New (RCN)                                        SqFt        $/SqFt          Total          Cost
  Building Improvements
    College Classrooms Base Cost                                  37,773
    Add .5% for 4th Floor                                                         1.005
      Subtotal                                                    37,773
    HVAC included is Moderate. Upgrade to Extreme Climate         37,773
    Sprinklers-Wet (not in Base)                                  37,773
    Elevators (2)                                                    2
      Subtotal
  Multipliers
    Current Cost                                                                 1.070
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        3.5 Years
    Total Economic Life (Years):                                  45 Years
    Total Physical Depreciation:                                       7.8%
    Remaining Useful Life:                                                    41.5 Years
  Functional Obsolescence                                             0.0%
  External Obsolescence                                               0.0%
Total                                                                 7.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017            Section: 18       Quality: Average
                                                              Pg 26 & 27        Class: C
                                                              Date: 2/17        Type:    College (377) & Classrooms (368)




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                         COST APPROACH SUMMARY: 18 - MEDIA ARTS COMPLEX
                                                                     Gross                                      Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total            Cost
  Building Improvements
    Fine Arts Buildings Base Cost incl. HVAC                        11,900
    HVAC included is Moderate. Upgrade to Extreme Climate           11,900
    Sprinklers-Wet (not in Base)                                    11,900
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.020
    Product of Multipliers                                                                      x 1.015
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         20.5 Years
    Total Economic Life (Years):                                    30 Years
    Total Physical Depreciation:                                       68.3%
    Remaining Useful Life:                                                      9.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   68.3%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18    Quality: Low Cost
                                                                  Page: 20       Class: D
                                                                  Date: 2/17     Type:    Fine Arts Buildings




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       COST APPROACH SUMMARY: 19 - COLLEGE OF NURSING & HEALTH CARE PROFESSIONS
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total           Cost
  Building Improvements
    College Classroom Base Cost incl. HVAC                          17,922
    HVAC included is Moderate. Upgrade to Extreme Climate           17,922
    Sprinklers-Wet (not in Base)                                    17,922
      Subtotal

  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.092
    Product of Multipliers                                                                      x 1.098
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         30.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       67.8%
    Remaining Useful Life7/12/2018                                              14.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   67.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 27        Class: C
                                                                  Date: 2/17      Type:    College Classroom




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            COST APPROACH SUMMARY: 24 - FLEMING - COLLEGE OF DOCTORAL STUDIES
                                                                     Gross                                      Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total            Cost
  Building Improvements
    College Classroom Base Cost                                     15,107
    HVAC included is Moderate. Upgrade to Extreme Climate           15,107
    Sprinklers-Wet (not in Base)                                    15,107
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                      x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         30.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       67.8%
    Remaining Useful Life:                                                      14.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   67.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 27        Class: C
                                                                  Date: 2/17      Type:    College Classrooms




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      COST APPROACH SUMMARY: 33 - COLLEGE OF EDUCATION (COE) CLASSROOM BUILDING
                                                                     Gross                                      Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total            Cost
  Building Improvements
    College Classrooms Base Cost                                    32,413
    HVAC included is Moderate. Upgrade to Extreme Climate           32,413
    Sprinklers-Wet (not in Base)                                    32,413
    Elevator (2)                                                       2
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                      x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          7.5 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       16.7%
    Remaining Useful Life:                                                      37.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   16.7%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 27        Class: C
                                                                  Date: 2/17      Type:    College Classrooms




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                      COST APPROACH SUMMARY: 35 - COLLEGE OF BUSINESS (COB)
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total           Cost
  Building Improvements
    College Classroom Base Cost                                     22,418
    HVAC included is Moderate. Upgrade to Extreme Climate           22,418
    Sprinklers-Wet (not in Base)                                    22,418
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.092
    Product of Multipliers                                                                      x 1.098
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         21.0 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                       46.7%
    Remaining Useful Life:                                                      24.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   46.7%

Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 27        Class: C
                                                                  Date: 2/17      Type:    College Classroom




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                  COST APPROACH SUMMARY: 42 - COLANGELO COLLEGE OF BUSINESS
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    College Classrooms Base Cost                                    150,348
    Add .5% for 4th Floor                                                           1.005
      Subtotal                                                      150,348
    HVAC included is Moderate. Upgrade to Extreme Climate           150,348
    Sprinklers-Wet (not in Base)                                    150,348
    Elevators (3)                                                      2
      Subtotal

  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                        x 1.006
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          0.0 Years
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                         0.0%
    Remaining Useful Life:                                                      45.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    0.0%
Depreciated Value of the Site Improvements
Percentage of Completion as of 6/30/2018 per S. Doering/GCE                                                      61.00%

Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2

Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Average
                                                                  Page: 27        Class: C
                                                                  Date: 2/17      Type:    College (377) & Classrooms (368)




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         COST APPROACH SUMMARY: 43 - COLLEGE OF FINE ARTS (COLTER) & PRODUCTION
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total           Cost
  Building Improvements
    Administration (Office) Building Base Cost                      13,200
    HVAC included is Moderate. Upgrade to Extreme Climate           13,200
    Sprinklers-Wet (not in Base)                                    13,200
    Elevator (1)                                                       1
      Subtotal
  Multipliers
    Current Cost                                                                   1.070
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         18.5 Years
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                       46.3%
    Remaining Useful Life:                                                      21.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   46.3%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18     Quality: Low Cost
                                                                  Page: 32        Class: C
                                                                  Date: 2/17      Type:    Administration Office Building




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       COST APPROACH SUMMARY: 57 - COLLEGE OF EDUCATION/EXERCISE SCIENCE ('STEM")
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total            Cost
  Building Improvements
    College Classrooms Base Cost                                   150,348
    Add .5% for 4th Floor                                                          1.005
      Subtotal                                                     150,348
    HVAC included is Moderate. Upgrade to Extreme Climate          150,348
    Sprinklers-Wet (not in Base)                                   150,348
    Elevators (2)                                                     2
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 1.006
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         2.5 Years
    Total Economic Life (Years):                                   45 Years
    Total Physical Depreciation:                                        5.6%
    Remaining Useful Life:                                                     42.5 Years
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   5.6%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017               Section: 18     Quality: Average
                                                                 Page: 27        Class: C
                                                                 Date: 2/17      Type:    College Classrooms




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                                   ADDENDUM E:
                                Parking Structures
                       (excluding fair market value of underlying land)



                                                         6/30/2018
                                                            FMV
                      Bldg. No. and Bldg. Name          Conclusions
                       7 - 33rd Ave Parking Garage
                      15 - Halo Parking Garage
                      55 - 29th Ave & Camelback
                      80 - Grove Parking Garage
                      59 - Missouri Parking Garage

                           Sum-of-the-Retail Total




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                             COST APPROACH SUMMARY: 7 - 33rd AVENUE GARAGE
                                                                      Gross                                     Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt          Total          Cost
  Building Improvements
    Parking Structure (incl. elevators) as No. of Parking Spaces         1,590
    Less: Contractor discount for multiple bldg contract of 25%                       0.75
      Subtotal
    Add .5% for 4th story                                                           1.005
      Subtotal                                                          1,590
    Sprinklers-Wet (not in Base)                                      434,650
    Gate Arm, automatic, one way (x2)                                       2
      Subtotal

  Multipliers
    Current Cost                                                                    1.020
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                        x 0.949
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           5.5 Years
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                        13.8%
    Remaining Useful Life:                                                       34.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                    13.8%

Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2

Source: Marshall Valuation Service - February 2018                 Section: 14     Quality: Low Cost
                                                                   Page: 34        Class: B
                                                                   Date: 2/18      Type:    Parking Structures (345)




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                       COST APPROACH SUMMARY: 15 - HALO GARAGE
                                                                      Gross                                     Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt          Total          Cost
  Building Improvements
    Parking Structure (incl. elevators) in No. of Parking Spaces      1,360
    Less: Contractor discount for multiple bldg contract of 25%                       0.75
      Subtotal
    Add .5% for 4th story                                                           1.005
      Subtotal                                                        1,360
    Sprinklers-Wet (not in Base)                                     350,864
    Gate Arm, automatic, one way (4)                                    4
      Subtotal
  Multipliers
    Current Cost                                                                    1.020
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                        x 0.949
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           3.5 Years
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                          8.8%
    Remaining Useful Life:                                                       36.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                     8.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018                 Section: 14     Quality: Low Cost
                                                                   Page: 34        Class: B
                                                                   Date: 2/18      Type:    Parking Structures (345)




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                   COST APPROACH SUMMARY: 55 - 29th AVE & CAMELBACK GARAGE
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    Parking Structure (incl. elevators) in Gross Sq. Ft.            511,789
    Less: Contractor discount for multiple bldg contract of 25%                      0.75
      Subtotal
    Add .5% for 4th story                                                          1.005
      Subtotal                                                      511,789
    Sprinklers-Wet (not in Base)                                    511,789
    Gate Arm, automatic, one way (2)                                   2
      Subtotal
  Multipliers
    Current Cost                                                                   1.020
    Local Area                                                                     0.930
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.949
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          1.5 Years
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                         3.8%
    Remaining Useful Life:                                                      38.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    3.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018                Section: 14     Quality: Low Cost
                                                                  Page: 34        Class: B
                                                                  Date: 2/18      Type:    Parking Structures (345)




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                        COST APPROACH SUMMARY: 80 - GROVE PARKING GARAGE
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total          Cost
  Building Improvements
    Parking Structure (incl. elevators) in Gross Sq. Ft.            511,789
    Less: Contractor discount for multiple bldg contract of 25%                      0.75
      Subtotal
    Add .5% for 4th story                                                          1.005
      Subtotal                                                      511,789
    Sprinklers-Wet (not in Base)                                    511,789
    Gate Arm, automatic, one way (2)                                   2
      Subtotal
  Multipliers
    Current Cost                                                                   1.020
    Local Area                                                                     0.930
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.949
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          2.5 Years
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                         6.3%
    Remaining Useful Life:                                                      37.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    6.3%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018                Section: 14     Quality: Low Cost
                                                                  Page: 34        Class: B
                                                                  Date: 2/18      Type:    Parking Structures (345)




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                      COST APPROACH SUMMARY: 59 - MISSOURI PARKING GARAGE
                                                                     Gross                                      Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt          Total           Cost
  Building Improvements
    Parking Structure (incl. elevators) in Gross Sq. Ft.            511,789
    Less: Contractor discount for multiple bldg contract of 25%                      0.75
      Subtotal
    Add .5% for 4th story                                                          1.005
      Subtotal                                                      511,789
    Sprinklers-Wet (not in Base)                                    511,789
    Gate Arm, automatic, one way (2)                                   2
      Subtotal
  Multipliers
    Current Cost                                                                   1.020
    Local Area                                                                     0.930
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.949
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          0.0 Years
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                         0.0%
    Remaining Useful Life:                                                      40.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    0.0%
Depreciated Value of the Site Improvements

Percentage complete on 6/30/2018 per GCE Scott Doering                                                                86.0%

Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2

Source: Marshall Valuation Service - February 2018                Section: 14     Quality: Low Cost
                                                                  Page: 34        Class: B
                                                                  Date: 2/18      Type:    Parking Structures (345)




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                                   Addendum F
                                 Other Buildings
                     (excluding fair market value of underlying land)



                                                                     6/30/2018
                                                                        FMV
         Bldg. No. and Bldg. Name                                   Conclusions
         13 - Security Booths
         32 - Facilities Boiler/Chiller Building
         34 - Tim Salmon Baseball Clubhouse
         56 – Camelback Self-Storage
         KFC Building - N-NEC Camelback Rd. & 35th Ave.

                                       Sum-of-the-Retail Total




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                             COST APPROACH SUMMARY: 13 - SECURITY BOOTHS
                                                                   Gross                                    Total
Replacement Cost New (RCN)                                         SqFt       $/SqFt         Total          Cost
  Building Improvements
    Guard House Base Cost (24 SF each x 15 units)                   360
    Add 35% for steel construction grade                                                             1.35
      Subtotal
    Gate Arm, automatic, one way                                    15
    Main Entrance Guard House Base Cost                             80
    Add: overhang with recessed lighting                            360
    Air Conditioning (window units)                                 15
      Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.960
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.989
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                        3.0 Years
    Total Economic Life (Years):                                  20 Years
    Total Physical Depreciation:                                     15.0%
    Remaining Useful Life:                                                    17.0 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                 15.0%

Depreciated Value of the Site Improvements excluding the underlying Land
                                   Rounded to nearest $25,000       4

Source: Marshall Valuation Service - March 2018                 Section: 64     Quality: Standard
                                                                Page: 9         Class: S
                                                                Date: 3/18      Type:    Guard Houses and Toll Booths




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                 COST APPROACH SUMMARY: 32 - FACILITIES BOILER/CHILLER BUILDING
                                                                     Gross                                   Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total          Cost
  Building Improvements
    Maintenance (Storage) Buildings                                  2,202
    Sprinklers- wet (not in base)                                    2,202
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.020
    Product of Multipliers                                                                      x 1.026
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         25.5 Years
    Total Economic Life (Years):                                    30 Years
    Total Physical Depreciation:                                       85.0%
    Remaining Useful Life:                                                      4.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   85.0%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2017                Section: 18    Quality: Average
                                                                  Page: 21       Class: C
                                                                  Date: 2/17     Type:    Maintenance (Storage) Building




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                 COST APPROACH SUMMARY: 34 - TIM SALMON BASEBALL CLUBHOUSE
                                                                     Gross                                  Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total         Cost
  Building Improvements
    Shower Room Buildings                                            5,488
      Subtotal
  Multipliers
    Current Cost                                                                  1.070
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.995
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         18.5 Years
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                       74.0%
    Remaining Useful Life:                                                      6.5 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   74.0%

Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $1,000       2
Source: Marshall Valuation Service - February 2017                Section: 18    Quality: Average
                                                                  Page: 22       Class: D
                                                                  Date: 2/17     Type:    Shower Room Buildings




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                       COST APPROACH SUMMARY: 56 - CAMELBACK SELF-STORAGE
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Self-storage net rentable area (754 units)-steel constr.        102,244
    Manager's unit (2nd level-frontage building only)                1,200
    Sprinklers (wet system)                                         102,244
    A/C - evaporative cooling                                       102,244
      Subtotal
  Multipliers
    Current Cost                                                                   1.020
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                      x 0.959
  Adjusted Base Cost
  Add Site Improvements
    CMU fencing, concertina wire, gates (LF)                            1,852
    Lighting and Signage
    Paving/landscaping (Land SF less bldg. SF footprint)             101,421
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           10 Years
    Total Economic Life (Years):                                     50 Years
    Total Physical Depreciation:                                       20.0%
    Remaining Useful Life:                                                      40.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                   20.0%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018                Section: 14     Quality: Good to Excellent
                                                                  Page: 26        Class: S
                                                                  Date: 2/18      Type:    Storage warehouses (406)




                                                      AR-C-0703
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                                   COST APPROACH SUMMARY: KFC BUILDING
                                                                      Gross                                    Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt        Total           Cost
  Building Improvements
    Fast Food Restaurant Base Cost - shell structure                  2,037
      Subtotal
  Multipliers
    Current Cost                                                                   1.010
    Local Area                                                                     0.930
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.939
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          30.0 Years
    Total Economic Life (Years):                                     30 Years
    Total Physical Depreciation:                                       100.0%
    Remaining Useful Life:                                                       0.0 Years
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  100.0%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $1,000       2
Source: Marshall Valuation Service - November 2014                 Section: 13    Quality: Low Cost
                                                                   Page: 17       Class: D
                                                                   Date: 11/14    Type:    Restaurants - Fast Food




                                                       AR-C-0704
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                                   ADDENDUM G:
                       I-17 to 27th Avenue Properties
                       (excluding fair market value of underlying land)



                                                                     6/30/2018
                                                                        FMV
            Bldg. No. and Bldg. Name                                Conclusions
            67 - GCU Hotel & new pool/landscaping
            68 - Canyon 49 restaurant & Hotel Lobby bldg.
            51 - Facilities Warehouse
            95 - 2850 W. Camelback Office Building

                                        Sum-of-the-Retail Total




                                        0705
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                                   COST APPROACH SUMMARY: 67 - GCU HOTEL
                                                                        Gross                                     Total
Replacement Cost New (RCN)                                              SqFt       $/SqFt          Total          Cost
  Building Improvements
    Limited Service Hotel Building Base Cost (including elevators)     56,580
    Sprinklers-Wet (not in Base)                                       56,580
    New outdoor Pool/Spa complex
      Subtotal
  Multipliers
    Current Cost                                                                      1.070
    Local Area                                                                        0.930
    Perimeter                                                                         1.000
    Building Height                                                                   1.000
    Product of Multipliers                                                                          x 0.995
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)                112,430
    Pole sign on street frontage                                              1
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                         11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                               10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            20.5 Years
    Total Economic Life (Years):                                       45 Years
    Total Physical Depreciation:                                          45.6%
    Remaining Useful Life:                                                         24.5 Years
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                     45.6%
Depreciated Value of the Site Improvements excluding the underlying Land
                                      Rounded to nearest $5,000         2
Source: Marshall Valuation Service - November 2016                   Section: 11     Quality: Good
                                                                     Page: 22        Class: D
                                                                     Date: 11/16     Type:    Limited Service Hotels




                                                       AR-C-0706
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               COST APPROACH SUMMARY: 68 - CANYON 49 & HOTEL LOBBY BUILDING
                                                                   Gross                                       Total
Replacement Cost New (RCN)                                         SqFt         $/SqFt         Total           Cost
  Building Improvements
    Sit-Down Restaurant (seating 126) & bar, and includes          12,720
       Hotel check-in reception area & lobby w/port cochere
    Exterior patio seating/covered for 52                           2,500
    Sprinklers-wet                                                 12,720
    HVAC ('Moderate' climate incl. in Base)                        12,720
       Subtotal
  Multipliers
    Current Cost                                                                   1.000
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.940
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (incl. in GCU Hotel Pool/Spa & landscape)            1
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         1.5 Years
    Total Economic Life (Years):                                   40 Years
    Total Physical Depreciation:                                        3.8%
    Remaining Useful Life:                                                      38.5 Years
  Functional Obsolescence                                              0.0%
  External Obsolescence                                                0.0%
Total                                                                  3.8%
Depreciated Value of the Site Improvements excluding the underlying Land
                                     Rounded to nearest $5,000       2
Source: Marshall Valuation Service - May 2018                   Section: 13       Quality: Excellent
                                                                Page: 14          Class: C
                                                                Date: 5/18        Type:    Restaurants (350)




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                         COST APPROACH SUMMARY: 51 - FACILITIES WAREHOUSE
                                                                      Gross                                   Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt         Total         Cost
  Building Improvements
    Warehouse Base Cost (two adjoined concrete buildings)            12,855
    Air conditioning included in Base                                12,855
      Subtotal
  Multipliers
    Current Cost                                                                    1.040
    Local Area                                                                      0.940
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.978
  Adjusted Base Cost
  Add Site Improvements
    Fencing-perimeter wrought iron and CMU (Lineal ft.)                    782
    Paving; asphalt & concrete (Land sf less bldg. sf footprint)        12,063
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          25.5 Years
    Total Economic Life (Years):                                     45 Years
    Total Physical Depreciation:                                        56.7%
    Remaining Useful Life:                                                       19.5 Years
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                    56.7%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - February 2018                 Section: 14     Quality: Good
                                                                   Page: 26        Class: C
                                                                   Date: 2/18      Type:    Storage Warehouse (406)




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             COST APPROACH SUMMARY: 95 - 2850 W. CAMELBACK RD. OFFICE BUILDING
                                                                   Gross                                   Total
Replacement Cost New (RCN)                                         SqFt       $/SqFt         Total         Cost
  Building Improvements
    Office Building Base Cost (multi-tenant). HVAC included.      11,764
      Subtotal
  Multipliers
    Current Cost                                                                1.020
    Local Area                                                                  0.930
    Perimeter                                                                   1.000
    Building Height                                                             1.000
    Product of Multipliers                                                                    x 0.949
  Adjusted Base Cost
  Add Site Improvements
    Paving/landscaping (Land sf less bldg. sf footprint)            22,109
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )
Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                       47.5 Years
    Total Economic Life (Years):                                  50 Years
    Total Physical Depreciation:                                     95.0%
    Remaining Useful Life:                                                    2.5 Years
  Functional Obsolescence                                             0.0%
  External Obsolescence                                               0.0%
Total                                                                95.0%
Depreciated Value of the Site Improvements excluding the underlying Land
                                    Rounded to nearest $5,000       2
Source: Marshall Valuation Service - November 2017              Section: 15    Quality: Average
                                                                Page: 17       Class: C
                                                                Date: 11/17    Type:    Office Buildings




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                           ADDENDUM H:


       Professional Qualifications of Dan A. Paulus, MAI




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